Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 1 of 8   PageID #: 1
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 2 of 8   PageID #: 2
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 3 of 8   PageID #: 3
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 4 of 8   PageID #: 4
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 5 of 8   PageID #: 5
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 6 of 8   PageID #: 6
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 7 of 8   PageID #: 7
Case 1:20-cv-00304-JMS-WRP Document 1 Filed 07/09/20 Page 8 of 8   PageID #: 8
